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     Attorney for Defendant
6    TERI SCHELL
7

8
                            IN THE UNITED STATES DISTRICT COURT
9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,          )                   2:14-CR-00325 JAM
                                        )
13
                             Plaintiff, )
14                                      )                   STIPULATION AND
     v.                                 )                   ORDER TO CONTINUE DATES
15                                      )                   MOTION TO ENJOIN
                                        )                   PROSECUTION
16
     TERI SCHELL,                       )
17                                      )
                             Defendant. )
18   __________________________________ )
19

20                                            STIPULATION
21          Plaintiff, United States of America, by and through its counsel, Assistant United States
22
     Attorney Gregory T. Broderick, defendant, David Schell, by and through his counsel, John R.
23
     Duree, Jr., and defendant, Teri Schell, by and through her counsel, Erin J. Radekin, agree and
24

25   stipulate to vacate the date set for hearing on the Teri Schell’s motion to enjoin prosecution,

26   February 13, 2018 at 9:15 a.m., in the above-captioned matter, and to continue the hearing to
27
     February 27, 2018 at 9:15 a.m. in the courtroom of the Honorable John A. Mendez.
28



                                                Stipulation and Order - 1
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1           The reason for this request is that the parties are very near to a global resolution of the
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     case; only details of the agreements as to resolution for both defendants, such as the factual bases
3
     and forfeiture issues, remain to be resolved. Further, the parties need additional time for
4

5
     investigation and research concerning the continuing effect of the appropriations rider. The

6    Court is advised that Mr. Broderick and Mr. Duree concur with this request and that both counsel
7    have authorized Ms. Radekin to sign this stipulation on their behalf.
8
            The parties further agree and stipulate that the time period from the filing of this
9
     stipulation through conclusion of the hearing, or other prompt disposition, of the motion to
10

11   enjoin prosecution should be excluded in computing time for commencement of trial under the

12   Speedy Trial Act, 18 U.S.C. § 3161(h)(1)(D). The parties also agree and stipulate such exclusion
13
     is necessary to allow both the United States and the defense reasonable time for effective
14
     preparation under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4. It is further agreed and
15
     stipulated that the ends of justice served in granting the request outweigh the best interests of the
16

17   public and the defendant in a speedy trial.

18          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
19
     IT IS SO STIPULATED.
20
     Dated: February 9, 2018                                   PHILLIP A. TALBERT
21                                                             United States Attorney
22
                                                      By:      /s/ Gregory T. Broderick
23                                                             GREGORY T. BRODERICK
                                                               Assistant United States Attorney
24

25

26   Dated: February 9, 2018                                    /s/ John R. Duree, Jr.
                                                               JOHN R. DUREE, JR.
27
                                                               Attorney for Defendant
28                                                             DAVID SCHELL



                                                   Stipulation and Order - 2
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2
     Dated: February 9, 2018                                /s/ Erin J. Radekin
3                                                           ERIN J. RADEKIN
                                                            Attorney for Defendant
4                                                           TERI SCHELL
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                                                  ORDER
6
            For the reasons set forth in the accompanying stipulation and declaration of counsel, the
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8    date set for the motion to enjoin prosecution, February 13, 2018 at 9:15 a.m. is VACATED and

9    the above-captioned matter is set for hearing on this motion on February 27, 2018 at 9:15 a.m.
10
     The Court finds excludable time in this matter through February 27, 2017 or other disposition of
11
     the motion to enjoin prosecution under 18 U.S.C. § 3161(h)(1)(D), (h)(7)(B)(iv) and Local Code
12
     T4, through disposition of the motion and to allow reasonable time necessary for effective
13

14   defense preparation. For the reasons stipulated by the parties, the Court finds that the interest of

15   justice served by granting the request outweigh the best interests of the public and the defendant
16
     in a speedy trial. 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(iv).
17
     IT IS SO ORDERED.
18

19
     Dated: 2/9/2018                               /s/ John A. Mendez______________
                                                   HON. JOHN A. MENDEZ
20                                                 United States District Court Judge
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                                                Stipulation and Order - 3
